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                       9                               UNITED STATES DISTRICT COURT
                      10                            NORTHERN DISTRICT OF CALIFORNIA
                      11

                      12    IN RE: ROUNDUP PRODUCTS LIABILITY                 MDL No. 2741
                            LITIGATION
                      13                                                      Case No. 3:16-md-02741-VC
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                            Angelo Bulone v. Monsanto Company,
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                      14                                                      PLAINTIFF’S RESPONSE TO
                            3:20-cv-03719-VC                                  DEFENDANT MONSANTO COMPANY’S
                      15
                                                                              SUPPLEMENTAL BRIEF IN SUPPORT
                      16                                                      OF MOTION TO EXCLUDE THE
                      17                                                      TESTIMONY OF DR. LUOPING ZHANG

                      18

                      19
                                  Pursuant to this Court’s Order dated April 25, 2024, Plaintiff Angelo Bulone respectfully
                      20
                           submits this response to Defendant Monsanto Company’s Supplemental Brief in Support of its
                      21

                      22   Motion to Exclude the Testimony of Dr. Luoping Zhang, Ph.D.

                      23

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                      14       2021).......................................................................................................................................... 10
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                                                              I.      INTRODUCTION
                       1

                       2          “Judges asked to determine whether an approach is ‘reliable’ by the standards of science

                       3   encounter the problem that we are lawyers rather than scientists.” Zenith Elecs. Corp. v. WH-TV

                       4   Broad. Corp., 395 F.3d 416, 419 (7th Cir. 2005) (citing Daubert v. Merrell Dow Pharmaceuticals,
                       5
                           Inc., 43 F.3d 1311 (9th Cir.1995)). Tellingly, the only persons who have challenged Dr. Luoping
                       6
                           Zhang’s (“Zhang”) peer-reviewed, published meta-analysis methodology – on which she has been
                       7
                           cited by scientists hundreds of times and asked to present by both national and international
                       8
                           scientific societies – are lawyers, not scientists. Indeed, the internal Environmental Protection
                       9

                      10   Agency (“EPA”) memorandum that served as the entire substantive basis for Monsanto’s Motion

                      11   to Exclude Dr. Luoping Zhang (“Motion to Exclude”) did not even criticize the aspects of Dr.
                      12   Zhang’s meta-analysis methodology that the Court and now Monsanto suggest render that
                      13
                           methodology “junk science.”
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                      14
                                  Specifically, Monsanto did not initially challenge Dr. Zhang’s a priori decision to mix
                      15
                           “highest possible exposure” data sets and “never-ever” data sets in her meta-analysis for the same
                      16

                      17   reason the internal EPA memorandum did not seek to “debunk” Dr. Zhang’s meta-analysis on that

                      18   ground: that methodology is routinely used by scientists examining potential associations between

                      19   different environmental exposures and various forms of cancer. Likewise, Monsanto did not move
                      20   to exclude Dr. Zhang’s meta-analysis on the grounds that it included both data adjusted for other
                      21
                           pesticide usage and unadjusted data for the same reason the internal EPA memorandum did not even
                      22
                           mention Dr. Zhang’s decision to include both data sets: the mixing of adjusted/unadjusted data in
                      23
                           meta-analyses is an accepted practice by scientists performing meta-analyses. In fact, the internal
                      24

                      25   EPA memorandum that served as the basis for Monsanto’s Motion to Exclude acknowledges that

                      26   Dr. Zhang and her co-authors included the same six epidemiological studies that the EPA used in

                      27   its own meta-analysis examining an association between glyphosate and non-Hodgkin’s lymphoma
                      28
                                                                           1
                               PLAINTIFF’S RESPONSE TO DEFENDANT MONSANTO COMPANY’S SUPPLEMENTAL BRIEF IN
                                    SUPPORT OF MOTION TO EXCLUDE THE TESTIMONY OF DR. LUOPING ZHANG
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                           (NHL), including the McDuffie and Orsi studies that did not adjust for other pesticide exposure.
                       1

                       2   See Dckt. No. 70, Pl.’s Resp. to Monsanto Co.’s Mot. to Exclude the Testimony of Dr. Luoping

                       3   Zhang (“Pl.’s Resp.”) at Ex. D, EPA Internal Mem. from D. Miller to C. Olinger, dated Jan. 6, 2020

                       4   (“2020 Miller Mem.”), at 2-3.
                       5
                                  As set out below, the meta-analysis Dr. Zhang published in 2019 checks almost every box
                       6
                           for reliability identified by Daubert and its progeny. Namely, that meta-analysis: (a) arose out of
                       7
                           research conducted outside litigation; (b) was subjected to peer review; (c) has been presented on in
                       8
                           front of national and international scientific societies; (d) utilizes the same methodology used in
                       9

                      10   other peer-reviewed papers; and (e) generated results that have been reproduced by other scientists.

                      11   Accordingly, excluding Dr. Zhang’s opinions arising out of that meta-analysis would violate
                      12   controlling Ninth Circuit precedent and constitute an abuse of discretion. Moreover, doing so would
                      13
                           have the effect of elevating the scientific analysis of lawyers over distinguished scientific journals
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                      14
                           such as THE LANCET, which is clearly not what Daubert intended.
                      15
                                                                II.     BACKGROUND
                      16

                      17          On March 6, 2024, Monsanto filed its Motion to Exclude, which asked the Court to exclude

                      18   the testimony of Dr. Zhang on the basis of Federal Rule of Evidence 702 (“Rule 702”). See Dkt.

                      19   No. 68, Monsanto Co.’s Mot. to Exclude the Testimony of Dr. Luoping Zhang, dated March 6, 2024
                      20   (“Def.’s Mot. to Exclude”) at 1-2. Monsanto’s arguments focused almost exclusively on the meta-
                      21
                           analysis included in Dr. Zhang’s peer-reviewed published article, Exposure to glyphosate-based
                      22
                           herbicides and risk for non-Hodgin Lymphoma: A meta-analysis and supporting evidence,
                      23
                           MUTATION RESEARCH-REVIEWS IN MUTATION RESEARCH 781:186-206 (2019) (“2019 Paper”).
                      24

                      25   More specifically, Monsanto argued that Dr. Zhang’s testimony based on her 2019 Paper should be

                      26   excluded on two substantive grounds: (1) the testimony is unreliable because the meta-analysis in

                      27   the 2019 Paper been “debunked by the EPA” in a the January 6, 2020 Memorandum by EPA
                      28
                                                                             2
                               PLAINTIFF’S RESPONSE TO DEFENDANT MONSANTO COMPANY’S SUPPLEMENTAL BRIEF IN
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                           employee David J. Miller (“Dr. Miller”) (hereinafter, “2020 Miller Memo”); and (2) her opinions
                       1

                       2   do not “fit the facts of the case because [they] do not address the specific sub-type of lymphoma

                       3   that Mr. Bulone alleges he developed as a result of using Roundup.” Id. at 3, 5. 1

                       4            Plaintiff’s Response to Monsanto Company’s Motion to Exclude the Testimony of Dr.
                       5
                           Luoping Zhang (“Plaintiff’s Response”) was filed on March 27, 2024. See Dckt. No. 70, Pl.’s
                       6
                           Resp. Plaintiff’s Response directly addressed each of the arguments raised in Defendant’s Motion
                       7
                           to Exclude. See Dckt. No. 70, Pl.’s Resp. at 7-15. Plaintiff’s Response also noted that the “2020
                       8
                           Miller Memo contains only two substantive criticisms of the methodology used by Dr. Zhang and
                       9

                      10   her co-authors in the meta-analysis portion of Dr. Zhang’s 2019 Paper”: (1) “that Dr. Zhang’s

                      11   meta-analysis would have produced ‘lower and non-statistically significant meta-estimates . . . if
                      12   the Andreotti, et al. (2018) study [had been] more properly incorporated’ into the meta-analysis”;
                      13
                           and (2) that Dr. Zhang’s “focus[] on the results from a fixed effect meta-analyses (instead of
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                      14
                           random effects) for this kind of data [was] incorrect.” Pl.’s Resp. at 8-9 (quoting Ex. D, 2020
                      15
                           Miller Mem. at 13).
                      16

                      17           Plaintiff was subsequently ordered to appear with Dr. Zhang for an in-person Daubert

                      18   hearing to occur on April 24, 2024. The morning of April 24, 2024, Dr. Zhang left her home in

                      19   Berkeley, California in time for the scheduled 10 a.m. hearing. At 7:56 a.m. that morning, barely
                      20   two hours before the hearing, the Court entered a notice on the MDL docket converting that
                      21
                           morning’s in-person hearing to Zoom. See Dckt. No. 18281. The parties also received an email
                      22
                           from the Courtroom Deputy at roughly the same time informing them that Plaintiff would not be
                      23
                           permitted to conduct a direct examination of Dr. Zhang; instead, the Court would “begin with a few
                      24

                      25
                           1
                      26     Alternatively, Monsanto made a procedural argument that Dr. Zhang’s testimony “should be
                           limited to her discussion of her 2019 Paper, her 2020 Paper and the 2016 EPA Final Report”
                      27   because “Dr. Zhang did not produce an expert report and Plaintiff’s expert disclosure did not
                           specify Dr. Zhang’s opinions . . . .” Def.’s Mot. to Exclude at 7.
                      28
                                                                            3
                                 PLAINTIFF’S RESPONSE TO DEFENDANT MONSANTO COMPANY’S SUPPLEMENTAL BRIEF IN
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                           questions for [Dr.] Zhang, and then we will go straight to cross examination.” Exhibit B, Email
                       1

                       2   from VC CRD to All Counsel of Record, dated Apr. 24, 2024. Once Dr. Zhang was reached with

                       3   this news, she turned her car around and headed back to her home in Berkeley.

                       4             At the hearing that morning, consistent with the Courtroom Deputy’s email, Plaintiff was
                       5
                           not permitted to begin with a direct examination of Dr. Zhang. Instead, the Court started the
                       6
                           examination of Dr. Zhang by asking her to answer detailed questions “off the top of [her] head” 2
                       7
                           about the studies included in her 2019 Paper and quizzing her at length on two issues that were not
                       8
                           raised in Monsanto’s Motion to Exclude: (1) the decision of her and her co-authors to use “highest
                       9

                      10   exposure” data sets from studies that define “highest exposure” differently and then mix that data

                      11   with “ever-never use” data sets; 3 and (2) the decision of her and her co-authors to mix data sets that
                      12   adjusted for other pesticide usage with data sets that were not adjusted for other pesticide usage. 4
                      13
                                     On May 2, 2024, Monsanto filed its Supplemental Brief in Support of Motion to Exclude
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                      14
                           the Testimony of Dr. Luoping Zhang (“Supplemental Brief”).               See Dckt. No. 83, Def.’s
                      15
                           Supplemental Br. in Support of Mot. to Exclude the Testimony of Dr. Luoping Zhang (“Def.’s
                      16

                      17   Supplemental Br.”). In its Supplemental Brief, Monsanto argues for the first time that Dr. Zhang’s

                      18   opinions based on her 2019 Paper are unreliable because: (1) her “meta-analysis . . . mixed and

                      19   cherry-picked dose-response data with never-ever use data”; and (2) her meta-analysis . . . mixed
                      20   data that was adjusted for other pesticides with data that was not.” Def.’s Supplemental Br. at 4.
                      21
                           Monsanto also argues – again, for the first time – that Dr. Zhang’s opinions based on her 2019 Paper
                      22
                           do “not ‘fit’ the question posed to the jury” because it does not include data from post-2019
                      23

                      24
                           2
                      25    Tr. at 65:11-66:4. Defendant has not cited any authority, under the Daubert standard, requiring
                           an expert to complete a “closed book” pop quiz on their own work.
                      26
                           3
                               Tr. at 80:8-81:17.
                      27
                           4
                               Tr. at 82:22-84:2.
                      28
                                                                             4
                                 PLAINTIFF’S RESPONSE TO DEFENDANT MONSANTO COMPANY’S SUPPLEMENTAL BRIEF IN
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                           epidemiological studies. Def.’s Supplemental Br. at 7. For the reasons discussed below, these
                       1

                       2   arguments should be rejected and Monsanto’s Motion to Exclude should be denied.

                       3                               III.    ARGUMENT & AUTHORITIES

                       4   A.     Dr. Zhang’s Opinions Satisfy “the Principal Ways” of Establishing Reliability, As
                                  Well As Possessing Other Indicia of Reliability.
                       5

                       6          There are two prongs to the Rule 702 analysis set out in Daubert v. Merrell Dow

                       7   Pharmaceuticals, Inc., 599 U.S. 579 (1993): (1) reliability and (2) relevance. See Daubert v. Merrell

                       8   Dow Pharm., Inc., 43 F.3d 1311, 1315 (9th Cir. 1995) (hereinafter, “Daubert II”). “Establishing
                       9   that an expert’s proffered testimony grows out of pre-litigation research or that the expert’s
                      10
                           research has been subjected to peer review are the two principal ways the proponent of expert
                      11
                           testimony can show that the evidence satisfies the first prong of Rule 702.” Id. at 1318 (emphasis
                      12
                           added). Expert testimony can satisfy the reliability requirement when just one of these two indicia
                      13
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                           is present. See, e.g., In re Bair Hugger Forced Air Warming Devices Prod. Liab. Litig., 9 F.4th 768,
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                      14

                      15   783 (8th Cir. 2021) (“In these circumstances—where a ‘hired gun’ expert's work has been peer

                      16   reviewed and published, and the developed-for-litigation concern is the only remaining reason for
                      17
                           excluding the testimony—we conclude that lingering questions of reliability and objectivity go to
                      18
                           weight rather than admissibility.”) (citing DiCarlo v. Keller Ladders, Inc., 211 F.3d 465, 468 (8th
                      19
                           Cir. 2000)). Here, of course, it is undisputed that Dr. Zhang’s opinions based on her 2019 Paper
                      20
                           satisfy both of “the two principal ways” a party can show that an expert’s opinions are reliable –
                      21

                      22   that is, the 2019 Paper arose out of her independent pre-litigation research and the research was

                      23   subjected to peer review.
                      24          1.      Independent Pre-Litigation Research
                      25          As far back as Daubert II, the Ninth Circuit “noted that a ‘very significant fact to be
                      26
                           considered is whether the experts are proposing to testify about matters growing naturally and
                      27
                           directly out of research they have conducted independent of the litigation, or whether they have
                      28
                                                                            5
                                PLAINTIFF’S RESPONSE TO DEFENDANT MONSANTO COMPANY’S SUPPLEMENTAL BRIEF IN
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                           developed their opinions expressly for purposes of testifying.’” Metabolife Int’l, Inc. v. Wornick,
                       1

                       2   264 F.3d 832, 841 (9th Cir. 2001) (quoting Daubert II, 43 F.3d at 1317). Indeed, “when research is

                       3   begun pre-litigation, it may be reliable without peer review.” Id. at 843 (citing Daubert II, 43 F.3d

                       4   at 1317).
                       5
                                  The Ninth Circuit considers the fact that an expert’s opinions and/or methodology were not
                       6
                           developed for purposes of litigation “a ‘very significant fact’ that ‘provides important, objective
                       7
                           proof that the research comports with the dictates of good science.” Murray v. S. Route Mar., S.A.,
                       8
                           870 F.3d 915, 923 (9th Cir. 2017) (quoting Daubert II, 43 F.3d at 1317). The rationale for this view
                       9

                      10   is straightforward. First, “experts whose findings flow from existing research are less likely to have

                      11   been biased toward a particular conclusion by the promise of remuneration; when an expert prepares
                      12   reports and findings before being hired as a witness, that record will limit the degree to which he
                      13
                           can tailor his testimony to serve a party’s interests.” Daubert II, 43 F.3d at 1317. Second,
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                      14
                           “independent research carries its own indicia of reliability, as it is conducted, so to speak, in the
                      15
                           usual course of business and must normally satisfy a variety of standards to attract funding and
                      16

                      17   institutional support.” Id. Third, given that “there is usually a limited number of scientists actively

                      18   conducting research on the very subject that is germane to a particular case . . . [the fact] that the

                      19   testimony proffered by an expert is based directly on legitimate, preexisting research unrelated to
                      20   the litigation provides the most persuasive basis for concluding that the opinions he expresses were
                      21
                           ‘derived by the scientific method.’” Id.
                      22
                                  As Dr. Zhang explained at the Daubert hearing, her research on the association between
                      23
                           glyphosate and NHL began when she was asked by the EPA to be the team leader for a scientific
                      24

                      25   advisory panel of scientists examining the existing epidemiology on this subject. Tr. at 123:8-15.

                      26   Moreover, her 2019 Paper was written, subjected to peer review, and published prior to her retention

                      27   as an expert in the Roundup litigation. See id. at 123:5-7. As such, her 2019 Paper satisfies what
                      28
                                                                             6
                               PLAINTIFF’S RESPONSE TO DEFENDANT MONSANTO COMPANY’S SUPPLEMENTAL BRIEF IN
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                           the Ninth Circuit has deemed “the most persuasive basis for concluding the opinions [she] expresses
                       1

                       2   were ‘derived by the scientific method.’” Daubert II, 43 F.3d at 1317.

                       3          2.      Peer Review

                       4          If, unlike Dr. Zhang’s opinions arising out of her 2019 Paper, the proposed opinion testimony

                       5   “is not based upon independent research, the district court must determine whether there exists any
                       6
                           ‘other objective, verifiable evidence that the testimony is based on scientifically valid principles.’”
                       7
                           Metabolife Int’l, 264 F.3d at 841 (quoting Daubert II, 43 F.3d at 1317-18). According to the Ninth
                       8
                           Circuit, “[p]eer review is the chief way of satisfying this requirement . . . .” Id. (emphasis added).
                       9
                           “[S]ubmission to the scrutiny of the scientific community” is a strong indicator of reliability
                      10

                      11   “because it increases the likelihood that substantive flaws in methodology will be detected.”

                      12   Murray, 870 F.3d at 923 (Daubert, 509 U.S. at 593, 113 S.Ct. 2786).
                      13          As further explained in Daubert II:
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                      14
                                  Peer review and publication do not, of course, guarantee that the conclusions reached
                      15          are correct; much published scientific research is greeted with intense skepticism and
                                  is not borne out by further research. But the test under Daubert is not the correctness
                      16          of the expert’s conclusions but the soundness of his methodology. []. That the
                                  research is accepted for publication in a reputable scientific journal after being
                      17          subjected to the usual rigors of peer review is a significant indication that it is taken
                      18          seriously by other scientists, i.e., that it meets at least the minimal criteria of good
                                  science.
                      19
                           Daubert II, 43 F.3d at 1317 (internal citation and citation omitted).
                      20
                                  Here, it is undisputed that Dr. Zhang’s 2019 Paper was peer-reviewed and published. As
                      21

                      22   such, her 2019 Paper satisfies what the Ninth Circuit has deemed “the chief way of satisfying” the

                      23   reliability requirement other than establishing that the research originated outside of litigation

                      24   (which her 2019 Paper also satisfies, as discussed supra).
                      25          3.      Other Factors
                      26          In addition to satisfying the “two principal” ways of establishing reliability under Rule 702,
                      27
                           Dr. Zhang’s opinions arising out of her 2019 Paper possess several other indicia of reliability under
                      28
                                                                             7
                               PLAINTIFF’S RESPONSE TO DEFENDANT MONSANTO COMPANY’S SUPPLEMENTAL BRIEF IN
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                           the Daubert standard.
                       1

                       2          First, a showing that an expert has been asked to present on her at-issue opinions at national

                       3   and international scientific conferences is another indicator that the expert’s work is reliable. See

                       4   Silong v. U.S., No. CV F 06-0474 LJO DLB, 2007 WL 2535126, at *3 (E.D. Ca. Aug. 31, 2007).
                       5
                           Dr. Zhang’s 2019 Paper checks that box as well, as she has been asked to present on her 2019 Paper
                       6
                           by both American and international scientific societies. See Tr. at 114:114:12-23. Given that fact,
                       7
                           it is not surprising that Dr. Zhang’s 2019 Paper has been cited approximately 340 times in the peer-
                       8
                           reviewed literature. See id. at 114:5-11.
                       9

                      10          Second, the reliability of an expert’s methodology can be buttressed by the submission of

                      11   examples of other scientists utilizing the same methodology in the peer-reviewed literature. 5 See
                      12   Murray, 870 F.3d at 923. With respect to her 2019 Paper, Dr. Zhang confirmed this to be the case
                      13
                           at the Daubert hearing and attaches to her Affidavit four separate peer-reviewed papers she was not
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                      14
                           involved in that, as discussed in depth infra, included “highest possible exposure” data sets with
                      15
                           “never-ever” data sets in meta-analyses examining associations between environmental exposures
                      16

                      17   and forms of cancer. See Tr. at 116:5-19; and Exhibit A, Affidavit of Luoping Zhang, Ph.D., dated

                      18   May 8, 2024 (“Dr. Zhang Aff.”) at ¶ 9.a., d.-e., h.

                      19          Regarding those papers, she notes in her Affidavit that:
                      20          Every one of these meta-analysis publications mentioned above were reviewed by
                      21          the editorial staff at each journal and by usually at least 3 outside independent
                                  anonymous peer-reviewers considered experts in the field. If anyone thought the
                      22          relevant methods applied, including a priori hypothesis and mixed exposure
                                  categories, were invalid they could have written a letter to the editor saying so. But
                      23          nobody has done it (most likely because they know they would be wrong) even
                                  though many of them have been published for several years (1998 – 2021).
                      24

                      25

                      26
                           5
                             Conversely, the fact that a party “can point to contrary studies” to an expert’s “published, peer-
                      27   reviewed study . . . is not sufficient to render [the expert’s] testimony inadmissible.” In re:
                           Silicone Gel Breasts Implants Prod. Liab.Litig., 318 F.2d 879, 902 (C.D. Ca. 2004).
                      28
                                                                             8
                               PLAINTIFF’S RESPONSE TO DEFENDANT MONSANTO COMPANY’S SUPPLEMENTAL BRIEF IN
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                           Ex. B, Dr. Zhang Aff. at ¶ 10. 6
                       1

                       2           Third, a party can establish the reliability of an expert’s methodology by showing the results

                       3   he or she reaches are “testable” – i.e., that “[s]omeone else using the same data and methods must

                       4   be able to replicate the result.” Zenith Elec. Corp., 395 F.3d at 419; see also City of Pomona v. SQM
                       5
                           N. Am. Corp., 750 F.3d 1036, 1046 (9th Cir. 2014). Here, Dr. Zhang confirmed that the Kabat 2021
                       6
                           paper was able to reproduce the results of her 2019 Paper and reach an identical 41% increase in
                       7
                           risk of NHL. See Tr. at 114:24-115:7.
                       8
                                   4.      Other Indicia of Reliability
                       9
                                   In sum, Dr. Zhang’s 2019 Paper does not just satisfy the “two principal ways” to establish
                      10

                      11   reliability under Daubert, it also carries three additional indicia of reliability. Moreover, all of these

                      12   factors were established in the original round of briefing and/or at the Daubert hearing. Despite
                      13   carrying all of these established signs of reliability, the Court at the Daubert hearing suggested Dr.
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                      14
                           Zhang’s work was “junk science” and requested a “substantive explanation for why [her work is]
                      15
                           not misleading.” Tr. at 131:11-12, 20-21. The requested substantive explanation, as well as
                      16
                           additional supporting materials, is set out in the sections below.
                      17

                      18   B.      Dr. Zhang’s Methodology is Logically Sound.

                      19           As noted above, the issues Dr. Zhang was questioned about for several hours at the April 24

                      20   hearing were not even tangentially raised in Monsanto’s Motion to Exclude. Certainly, there have
                      21   been trial courts in other who have “reminded the parties that Daubert hearings are limited in scope”
                      22
                           and instructed the parties not “to delve into substantive matters having nothing to do with the
                      23
                           [Daubert] motions presently before the Court.” Cage v. City of Chicago, 979 F. Supp. 2d 787, 810
                      24

                      25

                      26
                           6
                             Indeed, as noted above, the 2020 Miller Memo does not even challenge Dr. Zhang’s 2019 Paper
                      27   on these grounds. To date, the only persons that have suggested these methods are “invalid” are
                           lawyers, not scientists.
                      28
                                                                               9
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                           (N.D. Ill. 2013). Trial courts have also denied Daubert motions on discrete issues because those
                       1

                       2   issues were not raised in the initial briefing. See, e.g., Roeder v. Am. Med. Sys., Inc., Case No. 20-

                       3   1051-JWB, 2021 WL 4819443, at *8 (D. Kan. Oct. 15, 2021) (denying defendant’s Daubert motion

                       4   on issue “[b]ecause issue was not raised in the initial briefing and it has not been fully addressed . .
                       5
                           . .”).
                       6
                                     This Court obviously took a much more expansive view of the appropriate scope of the
                       7
                           Daubert inquiry at the April 24 hearing in this matter, repeatedly overruling Plaintiff’s scope
                       8
                           objections. See Tr. at 95:17-21, 105:6-13. Allowing the parties to provide this supplemental briefing
                       9

                      10   on the new issues raised sua sponte by the Court may have mitigated any prejudice to Plaintiff, but

                      11   it did not make Dr. Zhang’s job any easier at the April 24 hearing. Not only was she instructed by
                      12   the Court to answer questions on topics that were beyond the scope of Monsanto’s Motion to
                      13
                           Exclude, but she was also instructed by the Court at one point to answer questions “off the top of
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                      14
                           [her] head.” Id. at 50:19-23. Additionally, as she informed the Court, due to the last-minute shift
                      15
                           from an in-person hearing to a Zoom hearing, 7 Dr. Zhang did not have the benefit of having a printed
                      16

                      17   copy of her 2019 Paper in front of her and was suffering from connectivity issues that made scrolling

                      18   the PDF version very slow. See id. at 86:15-87:7.

                      19             Despite those challenging circumstances, Plaintiff maintains that Dr. Zhang established the
                      20   reliability of her opinions through her responses at the hearing – including a showing of the indicia
                      21
                           of reliability enumerated in the previous section, supra. Nevertheless, at the conclusion of the
                      22
                           Daubert hearing, the Court expressed a lack of understanding for “why it would ever be appropriate
                      23
                           mix high-exposure datasets with ever-exposure datasets” and requested a substantive explanation.
                      24

                      25   Id. at 130:9-14.

                      26

                      27
                           7
                      28       Plaintiff’s counsel had printed copies prepared for the Court and witness.
                                                                              10
                                 PLAINTIFF’S RESPONSE TO DEFENDANT MONSANTO COMPANY’S SUPPLEMENTAL BRIEF IN
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                                  Consistent with that request, Dr. Zhang provides the following explanation, which has
                       1

                       2   satisfied many peer review panels, in her Affidavit:

                       3          3.      In occupational epidemiology it rarely happens that every study on a given topic
                                          measures and categorizes exposure the same way. If one were to only use studies
                       4                  that assessed exposure the same way, then very few, if any, occupational meta-
                                          analyses would ever be done.
                       5

                       6          4.      More commonly, exposure methods vary from study to study. Importantly though,
                                          many of these different exposure assessment methods can be used to provide valid
                       7                  measures of association. This includes studies that categorize exposure as “never vs.
                                          ever” and studies that look at high exposure groups.
                       8
                                  5.      Studies looking at high exposures can have a particular advantage. That is, if a true
                       9
                                          causal association exists then higher exposures generally lead to higher relative risks,
                      10                  and higher relative risks are less likely to be impacted by minor study errors. This is
                                          a core principle of causal inference and epidemiology (Bradford Hill A. 1965. The
                      11                  environment and disease: Association or causation? Proc R Soc Med 58:295-300).
                      12          6.      Some “never vs. ever” studies could offer this advantage if many of those in the
                                          “ever” group are highly exposed. In many instances, however, this is unknown,
                      13
                                          either because the researcher did not collect detailed exposure data or because the
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                                          researchers simply did not report these data. Given this unknown, a logical approach
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                      14
                                          is to include both the “never vs. ever” and the high exposure category studies
                      15                  together, at least initially. If the meta-analysist is then concerned that the “never vs.
                                          ever” studies will give a much different answer than the high exposure studies, then
                      16                  one can simply do a sensitivity analysis in which the two groups of studies are looked
                      17                  at separately to see if they give dramatically different results (i.e., do both sets
                                          indicate an association exists or not?).
                      18
                                  7.      Further, the “ever” exposed group in “never vs. ever” studies include various or
                      19                  mixed levels of exposure and can be very different from one “never vs. ever” study
                                          to another.
                      20

                      21          8.      The underlying premise here is that one should not automatically rely on unjustified
                                          assumptions regarding “apples and oranges.” Rather, a more scientific and thorough
                      22                  examination like the one described above is usually a much more informative and
                                          justifiable approach.
                      23
                           Ex. A, Dr. Zhang Aff. at ¶¶ 3.-8.
                      24

                      25          As set out below, this methodology has been utilized by Dr. Zhang and other scientists to

                      26   assess a multitude of potential associations between environmental exposures and diseases.

                      27   C.     Monsanto’s Arguments Challenging the Reliability of Dr. Zhang’s Opinions Fail.
                      28
                                                                             11
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                                     1.     It is not scientifically unsound to mix “high exposure” groups with “ever
                       1                    exposed” groups in a meta-analysis.
                       2             First, Monsanto contends that the meta-analysis in Dr. Zhang’s 2019 Paper is unreliable
                       3
                           because it “mixed and cherry-picked dose-response data with ever-never use data . . . .” Def.’s
                       4
                           Supplemental Br. at 4. That argument displays a total lack of understanding for how meta-analyses
                       5
                           incorporating epidemiological studies are commonly structured. As the authors of Chromium VI
                       6

                       7   and stomach cancer: a meta-analysis of the current epidemiological evidence, which was published

                       8   in the peer-reviewed journal OCCUPATIONAL               AND   ENVIRONMENTAL MEDICINE in 2015

                       9   (“Chromium/Stomach Cancer Meta-Analysis”), explained: “Some studies gave RR estimates for
                      10
                           several different metrics of Cr(VI) exposure, such as average exposure, peak exposure or exposure
                      11
                           duration. In observational epidemiology, it is uncommon for all, or even most, studies to report
                      12
                           findings using the same exposure metric. As a consequence, meta-analyses frequently involve
                      13
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                           combining data on different metrics. This meta-analysis is no different.” Ex. A, Dr. Zhang Aff.
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                      14

                      15   at Ex. 4, Welling R, Beaumont JJ, Petersen SJ, Alexeeff GV, Steinmaus C (2015). Chromium VI

                      16   and stomach cancer: a meta-analysis of the current epidemiological evidence. Occup Environ Med.
                      17   72(2):151-9. PMID: 25231674 (“Chromium/Stomach Cancer Meta-Analysis”) at 152 (emphasis
                      18
                           added).
                      19
                                     As that passage indicates, the practice of mixing data sets using different exposure groups is
                      20
                           not unique to Dr. Zhang’s work nor is it a recent development in the field of epidemiological meta-
                      21

                      22   analysis. For example, in a 1998 meta-analysis entitled Diesel Exhaust Exposure and Lung Cancer,

                      23   which was published in the peer-review journal EPIDEMIOLOGY (“Diesel Exhaust/Lung Cancer

                      24   Meta-Analysis”), the authors used, where available, the subgroup from an epidemiological study
                      25   “with the longest exposure stratum.” Ex. A, Zhang Aff. at Ex. 1, Bhatia R, Lopipero P, Smith AH
                      26
                           (1998). Diesel exhaust exposure and lung cancer. Epidemiology. Jan;9(1):84-91. PMID: 9430274
                      27
                           (“Diesel Exhaust/Lung Cancer Meta-Analysis”), at 85. The authors of that study conceded that
                      28
                                                                              12
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                           “exposure duration categories were defined differently in the various studies” and the study selection
                       1

                       2   table reflects that the authors included several studies for which no exposure duration at all was

                       3   defined. Id. at 85-86, Table 1 (showing use of “no exposure duration” studies in, for example,

                       4   Ahlberg et al, 1981 and Boffetta et al, 1988).
                       5
                                  Similarly, in 2,4-dichlorophenoxyacetic (2,4-D) and risk of non-Hodgkin lymphoma: a
                       6
                           meta-analysis accounting for exposure levels, which was published in the peer-review journal
                       7
                           ANNALS OF EPIDEMIOLOGY in 2017 (“2,4-D/NHL Meta-Analysis”), the authors explained their
                       8
                           mixing of “highest exposure” groups with “ever exposed” groups in their meta-analysis:
                       9

                      10          Most studies we identified gave RRs for several different metrics of 2,4-D
                                  exposure, including cumulative exposure, exposure intensity, duration of exposure,
                      11          exposure with and without personal protective equipment (PPE), and time since first
                                  exposure. When this occurred, we attempted to identify the metric with the most
                      12          comprehensive evaluation of exposure and the metric most likely to capture the
                                  highest exposure group. As such, when RRs were given for multiple exposure
                      13
                                  metrics, we selected a single RR for the metric in the following order: cumulative
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                                  exposure (intensity x duration), exposure intensity (usually expressed as the number
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                      14
                                  of days used, mixed, or applied 2,4-D per year), the longest duration (expressed as
                      15          number of years using, mixing, or applying 2,4-D per year), and ever exposed to
                                  2,4-D versus never exposed to 2,4-D. This order was determined a priori.
                      16

                      17   Ex. A, Dr. Zhang Aff. at Ex. 5, Smith AM, Smith MT, La Merrill MA, Liaw J, Steinmaus C (2017).

                      18   2,4-dichlorophenoxy-acetic acid (2,4-D) and risk of non-Hodgkin lymphoma: a meta-analysis

                      19   accounting for exposure levels. Ann Epidemiol. 27(4): 281-289.e4. PMID: 28476329 (“2,4-D/NHL
                      20   Meta-Analysis”) at 282 (emphasis added).
                      21
                                  Consistent with this common practice, Dr. Zhang has published meta-analyses in the peer-
                      22
                           reviewed literature using mixed exposure data sets – including “high exposure” groups with “ever
                      23
                           exposed” groups – on numerous occasions. In Benzene exposure and non-Hodgkin lymphoma: a
                      24

                      25   systematic review and meta-analysis of human studies, which was published in the prestigious 8 peer-

                      26
                           8
                      27     See Baze v. Rees, 553 U.S. 35, 108, 128 S. Ct. 1520, 1564, 170 L. Ed. 2d 420 (2008) (identifying
                           “the Lancet, [as] an eminent, peer-reviewed medical journal.”).
                      28
                                                                            13
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                           review journal LANCET PLANETARY HEALTH in 2021 (“Benzene/NHL Meta-Analysis”), Dr. Zhang
                       1

                       2   and her co-authors structured their meta-analysis similarly to Dr. Zhang’s glyphosate meta-analysis.

                       3   Critically, for present purposes, “when multiple RRs or odds rations (ORs) were presented in the

                       4   original [epidemiological] studies,” they used the “highest exposed category.” Ex. A, Dr. Zhang
                       5
                           Aff. at Ex. 7, Rana I, Dahlberg S, Steinmaus C, Zhang L (2021). Benzene exposure and non-
                       6
                           Hodgkin lymphoma: a systematic review and meta-analysis of human studies. Lancet Planet Health.
                       7
                           5(9): e633-e643. PMID: 34450064 (“Benzene/NHL Meta-Analysis”) at 3. As the study selection
                       8
                           table makes plain, the meta-analysis mixed together “highest exposed” groups from certain studies
                       9

                      10   with epidemiological studies that only looked at “ever exposed” groups. See id. at Table 1 (showing

                      11   use of “ever exposed” group in, for example, Rinsky et al (2002) and Sorahan et al (2005)).
                      12          Similarly, in Formaldehyde and Brain Disorders: A Meta-Analysis and Bioinformatics
                      13
                           Approach, which was published in the peer-review journal NEUROTOXICITY RESEARCH in 2021
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                      14
                           (“Formaldehyde/Brain Disorder Meta-Analysis”), Dr. Zhang and her co-authors provided the
                      15
                           following scientific justification for an a priori hypothesis that focused on groups with high
                      16

                      17   formaldehyde exposure:

                      18          Our focus on groups with high formaldehyde exposure is based on the principle
                                  that, in general, if a true association exists, higher exposures are likely to yield
                      19          higher relative risk estimates (Rom and Markowitz 2007). . . . All else being equal,
                                  higher relative risks are associated with greater statistical power and are less likely
                      20          to be due to relatively minor biases or confounding (Hill 1965). Since our main goal
                      21          is to evaluate the potential association of the exposure and risk of the disease
                                  outcomes and not to conduct a precise dose-response assessment or to evaluate
                      22          risks in people with low exposures, our focus was on the groups with the highest
                                  available formaldehyde exposure.
                      23
                           Ex. A, Dr. Zhang Aff. at Ex. 6, Rana I, Rieswijk L, Steinmaus C, Zhang L (2021). Formaldehyde
                      24

                      25   and Brain Disorders: A Meta-Analysis and Bioinformatics Approach. Neurotox Res. 39(3): 924-

                      26   948. PMID: 33400181 (“Formaldehyde/Brain Disorder Meta-Analysis”) at 930 (emphasis added).

                      27          The authors of the Formaldehyde/Brain Disorder Meta-Analysis also noted that their “a
                      28
                                                                            14
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                           priori approach has been previously employed to estimate meta-risks for benzene (Steinmaus et al.
                       1

                       2   2008), formaldehyde (Zhang et al. 2009; Duong et al. 2011), and other agents (Welling et al. 2015;

                       3   Zhang et al. 2019; Smith et al. 2017).” Id. The study selection table in Formaldehyde/Brain

                       4   Disorder Meta-Analysis also reflects that the meta-analysis mixed together “highest exposed”
                       5
                           groups with “ever exposed” groups. See id. at Table 1 (showing use of “ever exposed” group in, for
                       6
                           example, Hall et al (2002) and Levin et al (2005)). See also Ex. A, Dr. Zhang Aff. at Ex. 2, Zhang
                       7
                           L, Steinmaus C, Eastmond DA, Xin XK and Smith MT (2009). Formaldehyde exposure and
                       8
                           leukemia: a new meta-analysis and potential mechanisms. Mutat Res Rev, 681(2-3):150-168.
                       9

                      10   PMID: 18674636 at 157 (“The studies in our meta-analysis used many different metrics of exposure.

                      11   For example, one study gave relative risks (RR) for peak exposure [98], and others presented RRs
                      12   only for an ‘exposed’ group defined solely by job title or work in a particular.”); and Ex. A, Dr.
                      13
                           Zhang Aff. at Ex. 3, Schwilk E, Zhang L, Smith MT, Smith AH, and Steinmaus C (2010).
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                      14
                           Formaldehyde and leukemia: an updated meta-analysis and evaluation of bias. JOEM, 52(9):878-
                      15
                           886. PMID: 20798648 at 879-880, Table 1 (noting that “in many of the studies included in this meta-
                      16

                      17   analysis, different types of exposure metrics were used” and mixing “highest exposure” groups (e.g.,

                      18   the Pinkerton study) and “ever exposed” groups (e.g., the Andjelkovich study) in the meta-analysis).

                      19          The authors of Formaldehyde/Brain Disorder Meta-Analysis further explained that, insofar
                      20   as the mixing of data sets impacts RR estimates, it generally does so in a downward direction:
                      21
                                  Combining different exposure metrics can impact RR estimates, but the likely
                      22          direction of the impact would be to reduce the ability to determine true
                                  associations. This is because, if formaldehyde does cause leukemia, some exposure
                      23          metrics are likely to be more strongly associated with leukemia risks than others.[]
                                  In this meta-analysis, we may have included some metrics that are less strongly
                      24          associated or unassociated with leukemia than others. Including less relevant
                      25          metrics will dilute summary RR estimates toward 1.0. If every study in this meta-
                                  analysis had reported data on the same single metric that was most strongly associated
                      26          with leukemia risk, it is possible that the true RRs in people with high formaldehyde
                                  exposure are even greater than the ones reported here.
                      27
                           Ex. A, Dr. Zhang Aff. at Ex. 6, Formaldehyde/Brain Disorder Meta-Analysis at 883 (emphasis
                      28
                                                                           15
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                           added).
                       1
                                     2.     It is not scientifically unsound to mix adjusted data with unadjusted data.
                       2

                       3             Second, Monsanto argues that Dr. Zhang’s meta-analysis in her 2019 Paper is unreliable

                       4   because it “mixed . . . data that was adjusted for other pesticides with data that was not.” Def.’s

                       5   Supplemental Br. at 4. Like Monsanto’s argument about mixing data sets with different exposure
                       6
                           metrics, addressed above, this contention is specious and does not withstand scrutiny. Most
                       7
                           significantly, that argument overlooks the fact that: (a) several other published meta-analyses
                       8
                           examining the association between glyphosate and NHL, including IARC’s meta-analysis,
                       9
                           combined unadjusted data from McDuffie and Orsi studies with data from studies that did adjust for
                      10

                      11   other pesticide use; 9 and (b) the 2020 Miller Memo acknowledges that “[t]he Zhang et al. (2019)

                      12   authors conducted their own literature search and used the same six studies [including McDuffie
                      13   and Orsi] that EPA used in its evaluation.” 10
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                      14
                                     The usage of both data adjusted for potential confounders and unadjusted data in a meta-
                      15
                           analysis is neither uncommon nor unscientific. For example, in the Chromium/Stomach Cancer
                      16
                           Meta-Analysis, discussed supra, the authors noted that “[s]ome studies [included in the meta-
                      17

                      18   analysis] reported RR estimates adjusted for variables such as smoking” and that these adjusted RRs

                      19   were used when available. Ex. A, Dr. Zhang Aff. at Ex. 4, Chromium/Stomach Cancer Meta-

                      20   Analysis at 152. See also Ex. A, Dr. Zhang Aff. at Ex. 1, Diesel Exhaust/Lung Cancer at 85 (“We
                      21   always used smoking-adjusted effect measures when present.”) (emphasis added).
                      22
                                     Nor is there anything unscientific about including the data set most likely to capture the
                      23

                      24
                           9
                             Exhibit C, Zhang L, Rana I, Shaffer RM, Taioli E, Sheppard L (2019). Exposure to glyphosate-
                      25   based herbicides and risk for Non-Hodgkin lymphoma: a meta-analysis and supporting evidence.
                           MUTAT RES REV. 781: 186-206. PMID: 31342895. PMCID: PMC6706269 at 196, Table 4
                      26   (showing Schinasi and Leon, IARC, and Chang and Delzell all incorporated the unadjusted data
                           from the McDuffie and Orsi studies in their meta-analyses).
                      27
                           10
                                Pl.’s Resp. at Ex. D, 2020 Miller Mem. at 13.
                      28
                                                                                16
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                           highest exposure group when adjusted and unadjusted data are available, provided this preference
                       1

                       2   is clearly stated a priori. For example, in the 2,4-D/NHL Meta-Analysis, discussed supra, the

                       3   authors stated that, based on their a priori focus on evaluating the groups with the highest 2,4-D

                       4   exposures, “[i]f separate RRs were provided for subjects using or not using PPE, the results for
                       5
                           subjects not using PPE were selected.” Ex. A, Dr. Zhang Aff. at Ex. 5, 2,4-D/NHL Meta-Analysis
                       6
                           at 282. As the authors explained, “[b]ecause the primary purpose of this work was to evaluate
                       7
                           whether the current literature supports an association between 2,4-D and NHL, rather than attempt
                       8
                           to define specific response relationships, our focus here was on evaluating those groups with the
                       9

                      10   highest 2,4-D exposure.” Id.

                      11   D.     Dr. Zhang’s Opinions “Fit” the Case.

                      12          Lastly, Monsanto argues that Dr. Zhang’s opinions do not “fit” the case because “she has
                      13   not updated [her] 2019 paper, despite other relevant papers coming out since that time.” Def.’s
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                      14
                           Supplemental Br. at 6.     This argument is stated in a conclusory fashion and Monsanto not
                      15
                           surprisingly can cite to no authority for the notion that a published study directly addressing general
                      16
                           causation in a case can no longer be used by a party because subsequent studies have been published.
                      17

                      18   Monsanto, of course, seeks to rely on several studies that are older than Dr. Zhang’s 2019 Paper,

                      19   including the EPA’s 2017 evaluation, which is discussed at length in the 2020 Miller Memo.

                      20          Furthermore, Monsanto’s “fit” argument ignores the fact that Dr. Zhang’s research into
                      21   whether glyphosate exposure causes NHL did not stop with the publication of her 2019 Paper. As
                      22
                           noted in Plaintiff’s Response, the paper Dr. Zhang co-authored in 2023, Mapping the key
                      23
                           characteristics of carcinogens for glyphosate and its formulations: A systematic review, and which
                      24
                           was published in the peer-reviewed journal, CHEMOSPHERE, also directly addresses the issue of
                      25

                      26   general causation in this case. See Dckt. No. 70, Pl.’s Resp. at 4-5, 12.

                      27   E.     “Other Issues” Do Not Warrant the Exclusion of Dr. Zhang’s Testimony

                      28          The Ninth Circuit has instructed trial courts that, in the context of a Daubert inquiry, “the
                                                                           17
                                PLAINTIFF’S RESPONSE TO DEFENDANT MONSANTO COMPANY’S SUPPLEMENTAL BRIEF IN
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                           judge is supposed to screen the jury from unreliable nonsense opinions, but not exclude opinions
                       1

                       2   merely because they are impeachable. The district court is not tasked with deciding whether the

                       3   expert is right or wrong, just whether his testimony has substance such that it would be helpful to a

                       4   jury.” Alaska Rent-A-Car, Inc. v. Avis Budget Grp., Inc., 738 F.3d 960, 969–70 (9th Cir. 2013).
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                           Given the scrutiny Dr. Zhang’s meta-analysis methodology has been subjected to, both in her own
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                           peer-reviewed studies and peer-reviewed studies generated by other scientists, her opinions cannot
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                           be credibly labeled “unreliable nonsense.” Indeed, as she noted in her Daubert hearing testimony,
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                           the EPA continues to ask her to serve on scientific advisory panels examining associations between
                       9

                      10   chemical exposures and cancer. See Tr. at 124:16-125:2.

                      11             For these reasons, the fact that certain statements may have been stated more clearly in Dr.
                      12   Zhang’s 2019 Paper do not warrant the wholesale exclusion of her testimony. For example, while
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                           the Court expressed concerns about the wording of the sentence, “we observed a meta-RR of 1.41 .
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                      14
                           . . following high cumulative GBH exposure[,]” 11 the Court later conceded that this finding was
                      15
                           better stated in the abstract. See Tr. at 79:17-25. Certainly, one poorly-worded sentence does not
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                      17   render the entirety of her published, peer-reviewed work unreliable – especially when it is stated

                      18   clearly elsewhere in the paper.

                      19                                          IV.     CONCLUSION
                      20             “The legal standard for reliability is aimed at excluding outlying evidence from experts
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                           without expertise near the arena of focus—not eliminating one of many viable opinions on a topic.”
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                           West Tenn. Chapter of Assoc. Builders and Contractors, Inc. v. City of Memphis, 300 F. Supp. 2d
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                           600, 605 (W.D. Tenn. 2004). As set out in the prior briefing, Dr. Zhang’s hearing testimony and
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                      25   above, Dr. Zhang has expertise in the field of meta-analysis, and neither the methodology nor the

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                           11
                      28        See Tr. at 67-70.
                                                                             18
                                 PLAINTIFF’S RESPONSE TO DEFENDANT MONSANTO COMPANY’S SUPPLEMENTAL BRIEF IN
                                      SUPPORT OF MOTION TO EXCLUDE THE TESTIMONY OF DR. LUOPING ZHANG
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                           results she published in her 2019 Paper were outliers; to the contrary, they constitute viable opinions
                       1

                       2   on the topic of whether glyphosate exposure causes NHL. These factors warrant the denial of

                       3   Monsanto’s Motion to Exclude. Meanwhile, whether the conclusions stated in that paper are correct

                       4   is for the jury to decide. See Kuhn v. Wyeth, Inc., 686 F.3d 618, 625 (8th Cir. 2012) (““The standard
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                           for judging the evidentiary reliability of expert evidence is ‘lower than the merits standard of
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                           correctness.’”) (quoting In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 744 (3d Cir. 1994)).
                       7

                       8   Dated: May 9, 2024

                       9
                                                                                         /s/Gibbs Henderson
                      10                                                                 Gibbs Henderson
                      11                                                                 Attorney for Plaintiff Angelo Bulone

                      12

                      13                                     CERTIFICATE OF SERVICE
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                      14   I hereby certify that on May 9, 2024, I electronically filed the foregoing with the Clerk of the
                      15
                           Court by using the CM/ECF system which will send a notice of electronic filing (NEF) to all
                      16
                           counsel of record who are CM/ECF participants.
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                                                                                         /s/Gibbs Henderson
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                               PLAINTIFF’S RESPONSE TO DEFENDANT MONSANTO COMPANY’S SUPPLEMENTAL BRIEF IN
                                    SUPPORT OF MOTION TO EXCLUDE THE TESTIMONY OF DR. LUOPING ZHANG
